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                                LETTER MOTION TO
                     MODIFY CONDITIONS OF RELEASE ON CONSENT
                                                       August 23, 2024
Magistrate Judge Sanket J. Bulsara
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                Re: United States v. Ammar Awawdeh
                                Criminal Docket No. 24-mj-00404-CLP-1

Dear Magistrate Judge Bulsara:
      Please be advised that I, Matin Emouna, of the firm Emouna & Mikhail PC, along with
Mark Lesko of the firm Greenberg Traurig LLP, represent Ammar Awawdeh, the defendant in the
aforementioned matter.

        This letter is respectfully submitted on behalf of Ammar Awawdeh, in support of his
motion to modify his conditions of release and remove the condition of home detention with the
consent of AUSA Benjamin Weintraub and Officer Christian Berzak of Pretrial Services. The
bond, the sureties, and the remaining conditions of release should remain for now and the condition
of a curfew with location monitoring as directed by Pretrial Services should be added.

       By way of background, on June 7, 2024, Mr. Awawdeh was arraigned before Magistrate
Judge Marcia M. Henry, whereby defense counsel and government agreed on a $100,000 bond
with two (2) sureties, subject to home detention and addiction assessment (See Dkt. No. 23).

        Mr. Awawdeh is currently being supervised by the U.S. Pretrial Services Office and he
respectfully requests that this honorable Court, on consent, strike paragraph (7) (i) (ii) (“Home
Detention”) of the June 7, 2024 Order and replace that condition with the following condition: “a
curfew with location monitoring as directed by Pretrial Services.” (See Dkt. No. 23).

          The Court’s time and attention to this matter are greatly appreciated.

                                                       Respectfully submitted,
                                                       / S/   Matin Emouna
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